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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

DAVITA M. KEY,                         )
                                       )
             Plaintiff,                )
                                       )
      v.                               ) CIVIL CASE NO. 2:19-cv-767-ECM
                                       )
HYUNDAI MOTOR                          )
MANUFACTURING                          )
ALABAMA, LLC, et al.,                  )
                                       )
             Defendants.               )

                ANSWER AND DEFENSES TO PLAINTIFF’S
                      AMENDED COMPLAINT

      Dynamic Security, Inc. (“Dynamic”), by and through undersigned counsel,

respectfully responds to Plaintiff Davita Key’s (“Plaintiff”) First Amended

Complaint (Doc. 28) alleging as follows:

      Except as admitted, qualified or affirmatively alleged in this Answer,

Dynamic denies each and every allegation in the Amended Complaint.

                          I.   JURISDICTION AND VENUE
      1.     Dynamic admits that the Court has subject matter jurisdiction over the

federal claims asserted in this action and that the Plaintiff seeks relief under these

claims, but Dynamic denies the remainder of the allegations set forth in Paragraph

One of the Complaint.
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                                 II.    PARTIES
      2.     Dynamic admits Plaintiff correctly stated her race and age, but is

without sufficient information to admit or deny Plaintiff’s residency.

      3.     Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph Three of the Amended Complaint.

      4.     Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph Four of the Amended Complaint.

      5.     Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph Five of the Amended Complaint.

      6.     Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph Six of the Amended Complaint.

      7.     Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph Seven of the Amended Complaint.

      8.     Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph Eight of the Amended Complaint.

      9.     Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph Nine of the Amended Complaint.

      10.    Dynamic is without sufficient information to admit or deny the

allegations set for in Paragraph Ten of the Amended Complaint.




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      11.    Dynamic is without sufficient information to admit or deny the

allegations set for in Paragraph Eleven of the Amended Complaint.

      12.   Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph 12 of the Amended Complaint.

      13.   Dynamic acknowledges Plaintiff refers to Defendant HEA and

Defendant HMMA jointly as “Hyundai.”

      14.   Dynamic admits the allegations set forth in Paragraph 14 of the

Amended Complaint.

      15.   Dynamic admits the allegations set forth in Paragraph 15 of the

Amended Complaint.

      16.   Dynamic admits the allegations set forth in Paragraph 16 of the

Amended Complaint.

      17.   In response to Paragraph 17 of the Amended Complaint, Dynamic

admits that its website identifies the services set forth in Paragraph 17 of the

Amended Complaint.

      18.   In response to Paragraph 18 of the Complaint, the language set forth is

an incomplete statement, so Dynamic denies the allegations set forth in Paragraph

18 of the Amended Complaint.

      19.   Dynamic admits the allegations set forth in Paragraph 19 of the

Amended Complaint.


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     20.   Dynamic admits the allegations set forth in Paragraph 20 of the

Amended Complaint.

     21.   Dynamic admits the allegations set forth in Paragraph 21 of the

Amended Complaint.

     22.   Dynamic admits the allegations set forth in Paragraph 22 of the

Amended Complaint.

     23.   Dynamic denies the allegations set forth in Paragraph 23 of the

Amended Complaint.

                       III.   CONDITIONS PRECEDENT

     24.   Dynamic denies the allegations set forth in Paragraph 24 of the

Amended Complaint.

     25.   Dynamic admits the allegations set forth in Paragraph 25 of the

Amended Complaint.

     26.   Dynamic admits the allegations set forth in Paragraph 26 of the

Amended Complaint.

     27.   Dynamic admits the allegations set forth in Paragraph 27 of the

Amended Complaint.

     28.   Upon information and belief, Dynamic admits the allegations set forth

in Paragraph 28 of the Amended Complaint.




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        29.   Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph 29 of the Amended Complaint.

        30.   Dynamic admits the allegations set forth in Paragraph 30 of the

Amended Complaint.

        31.   Dynamic is without sufficient information to admit or deny the

allegations in Paragraph 31 of the Amended Complaint and therefore denies them.

        32.   Dynamic is without sufficient information to admit or deny Plaintiff’s

beliefs. Dynamic denies that the notice of right to sue referenced in Paragraph 32 of

the Amended Complaint applies to Plaintiff and denies any remaining allegations set

forth in Paragraph 32 of the Amended Complaint.

        33.   Dynamic is without sufficient information to admit or deny Plaintiff’s

beliefs. Dynamic denies that the notice of right to sue referenced in Paragraph 33 of

the Amended Complaint applies to Plaintiff and denies any remaining allegations set

forth in Paragraph 33 of the Amended Complaint.

        34.   Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph 34 of the Amended Complaint and therefore denies

them.

        35.   Dynamic denies the allegations set forth in Paragraph 35 of the

Amended Complaint.




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      36.    Dynamic admits that the statute cited does not require satisfaction of

administrative prerequisites. Defendant denies Plaintiff is entitled to bring this action

or recover damages pursuant to the statute cited and denies any remaining allegations

set forth in Paragraph 36 of the Amended Complaint.

                                    IV.    FACTS
      37.    Dynamic admits the allegation set forth in Paragraph 37 of the

Amended Complaint.

      38.    Dynamic admits the allegations set forth in Paragraph 38 of the

Amended Complaint.

      39.    Dynamic denies that Dynamic contracts with Defendant HEA to

perform work at the identified site. Defendant is without sufficient information to

admit or deny the remaining allegations set forth in Paragraph 39 of the Amended

Complaint and therefore denies them.

      40.    Upon information and belief, Dynamic admits the allegations in

Paragraph 40 of the Amended Complaint.

      41.    Dynamic admits the allegations set forth in Paragraph 41 of the

Amended Complaint.

      42.    In response to Paragraph 42 of the Amended Complaint, Dynamic

admits the Plaintiff applied for a position and was selected for an interview.




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Dynamic denies the remaining allegations set forth in Paragraph 42 of the Amended

Complaint.

      43.    Dynamic admits that, based on Plaintiff’s application, she was

approved for an interview at the Hyundai Plaintiff. Defendant denies any remaining

allegations set forth in Paragraph 43 of the Amended Complaint.

      44.    Dynamic admits that Gloria Robinson and Maurice Chambliss

interviewed Plaintiff on July 19, 2017. Dynamic denies the remaining allegations set

forth in Paragraph 44 of the Amended Complaint.

      45.    In response to Paragraph 45 of the Complaint, Dynamic admits the

Plaintiff wore her hair in a dreadlock style at the interview and denies the remainder

of the allegations of Paragraph 45 of the Amended Complaint.

      46.    In response to Paragraph 46 of the Amended Complaint, Dynamic

admits that Robinson brought in Williams to provide a second opinion, but denies

Dynamic the remainder of the allegations set forth in Paragraph 46 of the Amended

Complaint.

      47.    Dynamic denies the allegations set forth in Paragraph 47 of the

Amended Complaint.

      48.    In response to Paragraph 48 of the Amended Complaint, Dynamic

admits that Robinson and Williams approved the hair style Plaintiff showed in a




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picture, but denies the remaining allegations set forth in Paragraph 48 of the

Amended Complaint.

      49.    Dynamic admits only that it offered Plaintiff a job and assigned her to

the Hyundai plant. Dynamic denies the remaining allegations set forth in Paragraph

49 of the Amended Complaint.

      50.    Dynamic admits the allegations set forth in Paragraph 50 of the

Amended Complaint.

      51.    Defendant denies the allegations set forth in Paragraph 51 of the

Amended Complaint.

      52.    Dynamic admits only that Plaintiff’s first day of assignment to the

Hyundai Plant was July 31, 2017. Dynamic denies the remaining allegations set forth

in Paragraph 52 of the Amended Complaint.

      53.    Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph 53 of the Amended Complaint.

      54.    Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph 54.

      55.    Dynamic denies the allegations set forth in Paragraph 55 of the

Amended Complaint.

      56.    In response to Paragraph 56 of the Amended Complaint, Dynamic

admits that Plaintiff asked to speak to Robinson regarding a personal matter and told


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Robinson and Chambliss she was pregnant, but denies the remaining allegations set

forth in Paragraph 56 of the Amended Complaint.

        57.   Dynamic denies the allegations set forth in Paragraph 57 of the

Amended Complaint.

        58.   Dynamic denies the allegations set forth in Paragraph 58 of the

Amended Complaint.

        59.   Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph 59 of the Amended Complaint and, therefore,

denies the allegations set forth in Paragraph 59 of the Amended Complaint.

        60.   Dynamic is without sufficient information to admit or deny what

Plaintiff told Williams and therefore denies the same. Dynamic denies the remaining

allegations set forth in Paragraph 60 of the Amended Complaint.

        61.   Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph 61 of the Amended Complaint and therefore denies

them.

        62.   Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph 62 of the Amended Complaint and therefore denies

them.




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       63.   In response to Paragraph 63 of the Amended Complaint, Dynamic

admits that Plaintiff began working with LaTonya Howell a mailroom employee and

trainer.

       64.   Dynamic denies the allegations set forth in Paragraph 64 of the

Amended Complaint.

       65.   In response to Paragraph 5 of the Amended Complaint, Dynamic admits

that Key met with Robinson and Chambliss, but denies the remaining allegations set

forth in Paragraph 65 of the Amended Complaint.

       66.   Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph 66 of the Amended Complaint and, therefore,

denies the allegations set forth in Paragraph 66 of the Amended Complaint.

       67.   Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph 67 of the Amended Complaint and, therefore,

denies the allegations set forth in Paragraph 67 of the Amended Complaint.

       68.   Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph 68 of the Amended Complaint and, therefore,

denies the allegations set forth in Paragraph 68 of the Amended Complaint.

       69.   Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph 69 of the Amended Complaint and, therefore,

denies the allegations set forth in Paragraph 69 of the Amended Complaint.


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      70.    In response to Paragraph 70, Dynamic admits that Plaintiff told

Williams that she could wear an appropriate hat, that Plaintiff was released for the

day, and that Robinson stated they would go from there once Plaintiff contacted her

hair stylist. Dynamic denies the remaining allegations set forth in Paragraph 70 of

the Amended Complaint.

      71.    Dynamic admits Plaintiff could not continue to work at the Hyundai

Plant because her hair style did not conform to the client’s grooming policy and left

after the approximate time stated. Defendant denies the remaining allegations set

forth in Paragraph 71 of the Amended Complaint.

      72.    In response to Paragraph 72 of the Amended Complaint, Dynamic

admits Robinson called Plaintiff and asked when she was due, but denies the

remaining allegations set forth in Paragraph 72 of the Amended Complaint.

      73.    In response to Paragraph 73 of the Amended Complaint, Dynamic

admits Plaintiff told Robinson she was due in January, but denies the remaining

allegations set forth in Paragraph 73 of the Amended Complaint.

      74.    Dynamic admits Plaintiff returned to the Hyundai Plant on August 1,

2017, wearing a hat, and worked with a trainer. Dynamic denies the remaining

allegations set forth in Paragraph 74 of the Amended Complaint.

      75.    In response to Paragraph 75, Dynamic admits that Plaintiff and Howell

came to the office where Robinson was and that Robinson did not speak to Plaintiff


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or discuss her hairstyle. Dynamic is without sufficient information to admit or deny

the remaining allegations set forth in Paragraph 79 of the Amended Complaint and,

therefore, denies the allegations set forth in Paragraph 579 of the Amended

Complaint.

      76.    Dynamic is without sufficient information to admit or deny what Tanya

or Plaintiff said to each other and therefore denies the same. Dynamic denies the

remaining allegations set forth in Paragraph 62 of the Amended Complaint.

      77.    Dynamic admits Chambliss directed Plaintiff to the conference room.

Defendant denies the remaining allegations set forth in Paragraph 77 of the Amended

Complaint.

      78.    Dynamic admits only that Robinson and Chambliss met with Plaintiff.

Dynamic denies the remaining allegations set forth in Paragraph 78 of the Amended

Complaint.

      79.    Dynamic denies the allegations set forth in Paragraph 79 of the

Amended Complaint.

      80.    In response to Paragraph 80 of the Amended Complaint, Dynamic

admits Robinson inquired whether Plaintiff felt she was being discriminated against,

but denies the remaining allegations set forth in Paragraph 80 of the Amended

Complaint.




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      81.    In response to Paragraph 81 of the Amended Complaint, Dynamic

admits Plaintiff stated no comment and was told that a co-worker said she felt that

way, but denies the remaining allegations set forth in Paragraph 81 of the Amended

Complaint.

      82.    Dynamic denies the allegations set forth in Paragraph 82 of the

Amended Complaint.

      83.    Dynamic denies the allegations set forth in Paragraph 83 of the

Amended Complaint.

      84.    Dynamic admits that Howell confirmed she told Robinson about the

complaint, that she spoke again to Robinson, that Plaintiff handwrote a complaint,

and that Plaintiff was told to speak with Ray Cureton. Dynamic denies the remaining

allegations set forth in Paragraph 84 of the Amended Complaint.

      85.    Dynamic admits only that Plaintiff was sent to speak with Ray Cureton.

Dynamic denies the remaining allegations set forth in Paragraph 85 of the Amended

Complaint.

      86.    Dynamic admits Plaintiff met with Cureton and that Scavella was

present. Dynamic denies the remaining allegations set forth in Paragraph 86 of the

Amended Complaint.

      87.    Dynamic denies the allegations set forth in Paragraph 87 of the

Amended Complaint.


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      88.   Dynamic admits only that Cureton stated her hair did not comply with

the client’s grooming policy. Dynamic denies the remaining allegations set forth in

Paragraph 88 of the Amended Complaint.

      89.   Dynamic denies the allegations set forth in Paragraph 89 of the

Amended Complaint.

      90.   Dynamic denies the allegations set forth in Paragraph 90 of the

Amended Complaint.

      91.   In response to Paragraph 91 of the Amended Complaint, Dynamic

admits that Plaintiff was not allowed to return to the Hyundai facility and that her

hair did not conform to the client’s grooming policy, but denies the remaining

allegations set forth in Paragraph 91 of the Amended Complaint.

      92.   Dynamic admits the allegations set forth in Paragraph 92 of the

Amended Complaint.

      93.   Dynamic denies the allegations set forth in Paragraph 93 of the

Amended Complaint.

      94.   Dynamic admits the allegations set forth in Paragraph 94 of the

Amended Complaint.

      95.   Dynamic admits the allegations set forth in Paragraph 95 of the

Amended Complaint.




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                V.      STATEMENT OF PLAINTIFF’S CLAIMS

                                    COUNT ONE
                     TITLE VII – PREGNANCY DISCRIMINATION

       96.    Dynamic incorporates by reference its responses to paragraphs 1 – 95

as if fully set forth herein.

       97.    Dynamic denies the allegations set forth in Paragraph 97 of the

Amended Complaint.

       98.    Dynamic denies the allegations set forth in Paragraph 98 of the

Amended Complaint.

       99.    Dynamic denies the allegations set forth in Paragraph 99 of the

Amended Complaint.

       100. In response to Paragraph 100 of the Amended Complaint, Dynamic

admits it was notified of Plaintiff’s pregnancy; Dynamic is without sufficient

information to admit or deny whether the other defendants were aware of the

pregnancy and, therefore, denies those allegations; and denies the remaining

allegations set forth in Paragraph 100 of the Amended Complaint.

       101. Dynamic denies the allegations set forth in Paragraph 101 of the

Amended Complaint.

       102. Dynamic denies the allegations set forth in Paragraph 102 of the

Amended Complaint with respect to it, but admits that Plaintiff’s assignment to the

Hyundai plant was terminated.
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       103. Dynamic denies the allegations set forth in Paragraph 103 of the

Amended Complaint.

       104. Dynamic denies the allegations set forth in Paragraph 104 of the

Amended Complaint.

       105. Dynamic denies the allegations set forth in Paragraph 105 of the

Amended Complaint.

       106. Dynamic denies the allegations set forth in Paragraph 106 of the

Amended Complaint.

       107. Dynamic denies the allegations set forth in Paragraph 107 of the

Amended Complaint.

       108. Dynamic denies the allegations set forth in Paragraph 108 of the

Amended Complaint.

                                    COUNT TWO
                          TITLE VII RACE DISCRIMINATION

       109. Dynamic incorporates by reference its responses to paragraphs 1 – 95

as if fully set forth herein.

       110. Dynamic denies the allegations set forth in Paragraph 110 of the

Amended Complaint.

       111. Dynamic denies the allegations set forth in Paragraph 111 of the

Amended Complaint.



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      112. Dynamic denies the allegations set forth in Paragraph 112 of the

Amended Complaint.

      113. Dynamic denies the allegations set forth in Paragraph 113 of the

Amended Complaint.

      114. Dynamic denies the allegations set forth in Paragraph 114 of the

Amended Complaint.

      115.    In response to Paragraph 115, Dynamic admits that it was made aware

that Plaintiff’s hair was not within its client’s grooming policy and acted pursuant to

its client’s request and denies the remaining allegations set forth in Paragraph 115

of the Amended Complaint.

      116. Dynamic denies the allegations set forth in Paragraph 116 of the

Amended Complaint.

      117. Dynamic is without sufficient information to admit or deny the

allegations set forth in paragraph 117 of the Amended Complaint.

      118. Dynamic denies the allegations set forth in Paragraph 118 of the

Amended Complaint.

      119. Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph 119 of the Amended Complaint and, therefore,

denies the allegations set forth in Paragraph 119 of the Amended Complaint.




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      120.   Dynamic denies the allegations set forth in Paragraph 120 of the

Amended Complaint.

      121. Dynamic denies the allegations set forth in Paragraph 121 of the

Amended Complaint.

      122. Dynamic denies the allegations set forth in Paragraph 122 of the

Amended Complaint.

      123. Dynamic denies the allegations set forth in Paragraph 123 of the

Amended Complaint.

      124. Dynamic denies the allegations set forth in Paragraph 124 of the

Amended Complaint.

                                COUNT THREE
                        42 USC § 1981 DISCRIMINATION

      125. Dynamic incorporates herein by reference its responses to Paragraphs

1 – 95.

      126. Dynamic denies the allegations set forth in Paragraph 126 of the

Amended Complaint.

      127. Dynamic denies the allegations set forth in Paragraph 127 of the

Amended Complaint.

      128. Dynamic denies the allegations set forth in Paragraph 128 of the

Amended Complaint.



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      129. Dynamic denies the allegations set forth in Paragraph 129 of the

Amended Complaint that are directed at it.          Dynamic is without sufficient

information to admit or deny the remaining allegations set forth in Paragraph 129 of

the Amended Complaint and, therefore, denies the allegations set forth in Paragraph

129 of the Amended Complaint

      130. In response to Paragraph 130 of the Amended Complaint, Dynamic

admits Plaintiff was no longer allowed to work at the Hyundai facility on the dates

stated due to its client’s request. Dynamic is without sufficient information to admit

or deny the remaining allegations set forth in Paragraph 130 of the Amended

Complaint.

      131. Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph 131 of the Amended Complaint and, therefore,

denies the allegations set forth in Paragraph 131 of the Amended Complaint.

      132. Dynamic denies the allegations set forth in Paragraph 132 of the

Amended Complaint.

      133. Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph 133 of the Amended Complaint and, therefore,

denies the allegations set forth in Paragraph 133 of the Amended Complaint.

      134. Dynamic denies the allegations set forth in Paragraph 134 of the

Amended Complaint.


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      135. Dynamic denies the allegations set forth in Paragraph 135 of the

Amended Complaint.

      136. Dynamic denies the allegations set forth in Paragraph 136 of the

Amended Complaint.

      137. Dynamic denies the allegations set forth in Paragraph 137 of the

Amended Complaint.

      138. Dynamic denies the allegations set forth in Paragraph 138 of the

Amended Complaint.

                                  COUNT FOUR
                          TITLE VII RACE RETALIATION

      139. Dynamic incorporates herein by reference its responses to Paragraphs

1 – 95.

      140. Dynamic denies the allegations set forth in Paragraph 140 of the

Amended Complaint.

      141. Dynamic denies the allegations set forth in Paragraph 141 of the

Amended Complaint.

      142. Dynamic denies the allegations set forth in Paragraph 142 of the

Amended Complaint.

      143. In response to Paragraph 143 of the Complaint, Dynamic admits that

Plaintiff stated she wanted to file a complaint, but denies the remaining allegations

set forth in Paragraph 143 of the Amended Complaint.
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      144. In response to Paragraph 144 of the Complaint, Dynamic admit Plaintiff

was instructed to leave the Hyundai facility and see Dr. Cureton. Dynamic denies

the remaining allegations set forth in Paragraph 144 of the Amended Complaint.

      145. In response to Paragraph 145 of the Amended Complaint, Dynamic

admits Plaintiff was no longer allowed to work at the Hyundai facility after she left

the facility due to its client’s request. Dynamic is without sufficient information to

admit or deny the remaining allegations set forth in Paragraph 145 of the Amended

Complaint.

      146. Dynamic denies the allegations set forth in Paragraph 145 of the

Amended Complaint.

      147. Dynamic denies the allegations set forth in Paragraph 146 of the

Amended Complaint.

      148. In response to Paragraph 147 of the Complaint, Dynamic admits that

Plaintiff stated she wanted to file a complaint, but denies the remaining allegations

set forth in Paragraph 147 of the Amended Complaint.

      149. Dynamic denies the allegations set forth in Paragraph 148 of the

Amended Complaint.

      150. Dynamic denies the allegations set forth in Paragraph 149 of the

Amended Complaint.




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                                   COUNT FIVE
                        42 USC § 1981 RACE RETALIATION

      151. Dynamic incorporates herein by reference its responses to Paragraphs

1 – 95.

      152. Dynamic denies the allegations set forth in Paragraph 152 of the

Amended Complaint.

      153. Dynamic is without sufficient information to admit or deny the

allegations set forth in Paragraph 153 of the Amended Complaint and, therefore,

denies the allegations set forth in Paragraph 153 of the Amended Complaint.

      154. Dynamic denies the allegations set forth in Paragraph 154 of the

Amended Complaint.

      155. In response to Paragraph 155 of the Complaint, Dynamic admits that

Plaintiff stated she wanted to file a complaint, but denies the remaining allegations

set forth in Paragraph 154 of the Amended Complaint.

      156. In response to Paragraph 156 of the Complaint, Dynamic admit Plaintiff

was instructed to leave the Hyundai facility and see Dr. Cureton. Dynamic denies

the remaining allegations set forth in Paragraph 156 of the Amended Complaint.

      157. In response to Paragraph 157 of the Amended Complaint, Dynamic

admits Plaintiff was no longer allowed to work at the Hyundai facility after she left

the facility due to its client’s request. Dynamic is without sufficient information to



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admit or deny the remaining allegations set forth in Paragraph 157 of the Amended

Complaint.

      158. Dynamic denies the allegations set forth in Paragraph 158 of the

Amended Complaint.

      159. Dynamic denies the allegations set forth in Paragraph 159 of the

Amended Complaint.

      160. Dynamic denies the allegations set forth in Paragraph 160 of the

Amended Complaint.

      161. Dynamic denies the allegations set forth in Paragraph 161 of the

Amended Complaint.

      162. Dynamic denies the allegations set forth in Paragraph 162 of the

Amended Complaint.

      With regard to the Relief clauses under Counts One, Two, Three, Four, and

Five, Dynamic denies Plaintiff is entitled to the relief requested or any relief

whatsoever.


                         AFFIRMATIVE DEFENSES

                                 First Defense

      Except to the extent expressly admitted herein, the allegations of the

Complaint are denied.



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                                   Second Defense

       To the extent Plaintiff has failed or refused to mitigate her damages, she is not

entitled to relief.

                                    Third Defense

       Defendant affirmatively has made a good faith effort to comply with all

federal and state laws.

                                   Fourth Defense

       This Court is without jurisdiction to hear Title VII claims that were not timely

brought before the EEOC and investigated by that agency.

                                    Fifth Defense

       Defendant denies that Plaintiff’s race or any other impermissible factor played

any role with respect to any employment decision, practice, or term or condition of

employment complained of by Plaintiff.

                                    Sixth Defense

       Even if Plaintiff could prove intentional discrimination, or retaliation, which

Defendant denies, Defendant would demonstrate that it would have taken the same

employment actions in the absence of any unlawful motivating factors.

                                  Seventh Defense

       Some or all of Plaintiff’s claims fail to state a claim upon which relief can be

granted.


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                                   Eighth Defense

Plaintiff has not stated a claim for sex or race discrimination or for unlawful

retaliation. Among other reasons, Plaintiff did not engage in any protected activity.



                                   Ninth Defense

      To the extent that Plaintiff’s Amended Complaint challenges employment

decisions affecting her, such decisions were made on the basis of legitimate, non-

discriminatory and non-retaliatory factors.

                                   Tenth Defense

      Some of Plaintiff’s claims are barred by the statute of limitations.

                                  Eleventh Defense

      Plaintiff was not subjected to any adverse terms and conditions of her

employment.

                                  Twelfth Defense

      Defendant is not liable for punitive damages as it has have made good faith

efforts to enforce any anti-discrimination laws and policies. Defendant cannot be

held vicariously liable for punitive damages for any allegedly discriminatory

decision of its agents where such decisions are contrary to Defendant’s good faith

efforts to prevent discrimination in the workplace and comply with Title VII.

Defendant, in no way, acted with malice or reckless disregard for the federal laws


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preventing harassment and discrimination. Kolstad v. American Dental Ass’n, 527

U.S. 526, 546, 119 S. Ct. 2118, 144 L. Ed. 2d 494 (1999).


                                 Thirteenth Defense

      Defendant reserves the right to assert any additional affirmative defenses that

may be determined during discovery.

                                Fourteenth Defense

      Plaintiff was an employee-at-will.

                                 Fifteenth Defense

      Plaintiff cannot establish a prima facie case of discrimination based on sex,

race, or in retaliation for any complaint of discrimination.

                                 Sixteenth Defense

      Defendant affirmatively avers that all of its actions were taken in good faith.

                                Seventeenth Defense

      Plaintiff’s claims for damages may be barred by the after-acquired evidence

doctrine.

                                Eighteenth Defense

      Plaintiff has failed to satisfy the conditions precedent to maintaining some of

the claims in this action.

                                Nineteenth Defense

      Plaintiff has not suffered any injuries or damages caused by Dynamic, but

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were the result of Plaintiff’s own actions or actions of other entities.


                                   Twentieth Defense

          Dynamic denies that Plaintiff’s sex or any other impermissible factor played

any role with respect to any employment decision, practice, or term or condition of

employment complained of by Plaintiff.

                                  Twenty-First Defense

          Plaintiff’s claims for punitive damages are barred because she cannot prove

by clear and convincing evidence that Defendant acted with actual malice relative

to her.

                                Twenty-Second Defense

          Defendant, without admitting that any employees engaged in any of the

acts or conduct attributed to it in the Complaint, did not ratify any alleged

intentional conduct by its employees.

                                 Twenty-Third Defense

          To the extent Plaintiff failed to make any reasonable attempts to mitigate her

damages, Defendant is entitled to a setoff, should it prevail. In addition, any

recovery must be set off and/or reduced by wages, commissions, pay and benefits,

other earning or remuneration, regardless of form received, that were paid or due to

Plaintiff or receivable with exercise of due diligence.



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                              Twenty-Fourth Defense

      Defendant adopts all defenses under Alabama statutory law and common law

and under federal law relating to limitation of punitive damages.

                               Twenty-Fifth Defense

      Any award of punitive damages in this case would violate Defendant’s rights

under the United States Constitution and the State of Alabama Constitution.

                               Twenty-Sixth Defense

      Plaintiff’s Title VII claims are barred by the statute of limitations.

                             Twenty-Seventh Defense
      Some of Plaintiff’s Title VII claims are barred by the statute of limitations

because they were not included in a timely-filed charge.

                              Twenty-Eighth Defense
      Some of Plaintiff’s Title VII claims are barred by the statute of limitations and

because claims and allegations in the Amended Complaint were not within the

scope of the EEOC Charge.

                              Twenty-Ninth Defense
      Plaintiff’s Title VII retaliation claims fail because she cannot establish that

her complaints were the “but for” cause of her purported termination. See Nassar v.

Univ. of Texas Southwestern Med. Center, 570 U.S. 338 (2013).




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                                   Thirtieth Defense
      This action is not maintainable under Title VII with respect to any event or

alleged event occurring more than 180 days prior to the filing of the EEOC Charge

upon which this action is based.

                              Thirty-First Defense

      All of the actions challenged by Plaintiff were made by another entity and not

by Dynamic.

                             Thirty-Second Defense

      Dynamic cannot be liable for a retaliation claim because it was not informed

of complaints made by Dynamic.

                              Thirty-Third Defense

      Dynamic took no actions to condone or ratify another entity’s decisions

regarding Plaintiff.



                                        Respectfully submitted,

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                              Facsimile: 205-244-5901

                              Counsel for Dynamic Security, Inc.




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                           CERTIFICATE OF SERVICE

        The undersigned, an attorney, hereby certifies that on 14th day of September,

2021, she electronically filed a true and correct copy of the foregoing with the Clerk

of Court using the CM/ECF System, which provides notice to all counsel of record:

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